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                                  No. 20-40359

          In the United States Court of Appeals
                  for the Fifth Circuit
                        Priscilla Villarreal,
                                   Plaintiff-Appellant,
                                       v.
The City of Laredo, Texas; Webb County, Texas; Isidro R.
 Alaniz; Marisela Jacaman; Claudio Trevino, Jr.; Juan L.
 Ruiz; Deyanria Villarreal; Enedina Martinez; Alfredo
         Gurrero; Laura Montemayor; Does 1-2,
                            Defendants-Appellees.

              On Appeal from the United States District Court
             for the Southern District of Texas, Laredo Division

  BRIEF FOR INTERVENOR THE STATE OF TEXAS IN
       SUPPORT OF DEFENDANTS-APPELLEES


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             Certificate of Interested Persons
                                  No. 20-40359
                            P RISCILLA V ILLARREAL ,
                                         Plaintiff Appellant,
                                          v.
The City of Laredo, Texas; Webb County, Texas; Isidro R.
 Alaniz; Marisela Jacaman; Claudio Trevino, Jr.; Juan L.
 Ruiz; Deyanria Villarreal; Enedina Martinez; Alfredo
         Gurrero; Laura Montemayor; Does 1-2,
                            Defendants-Appellees.

    Under the fourth sentence of Fifth Circuit Rule 28.2.1, Intervenor, as a govern-

mental party, need not furnish a certificate of interested persons.

                                        /s/ Lanora C. Pettit
                                        Lanora C. Pettit
                                        Counsel of Record for Intervenor




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      Statement Regarding Oral Argument
The en banc Court will hold oral argument on January 25, 2023.




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                                 Introduction
    The State of Texas intervenes in this action to protect its sovereign “interest in

the continued enforceability of its own statutes.” Cameron v. EMW Women’s Surgi-

cal Ctr., P.S.C., 142 S. Ct. 1002, 1011 (2022). That interest is implicated by both

now-vacated panel opinions, which called into question the constitutionality of

Texas Penal Code § 39.06(c). But it is imperiled by the panel majority’s larger hold-

ing that the tens of thousands of dedicated public servants charged with enforcing

Texas law on a day-to-day basis may be subject to a claim for damages (and attorneys’
fees) in their personal capacities for enforcing a lawfully obtained, facially valid arrest

warrant for violation of a duly enacted, facially constitutional law.

    “For several years,” Priscilla Villarreal has “used her Facebook page,” “a
smartphone[,] and an old pickup truck” to bring herself notoriety among, influence

over, and at least some concrete benefits from members of her community by “pub-

lish[ing] livestreams, videos and photographs” of what she deems “newsworthy
events in and around Laredo.” ROA.153.1 In 2017, however, she was arrested for

receiving confidential information (which she subsequently published) about a sui-

cide and a fatal accident from a public official not authorized to disclose it. According
to the panel majority, this arrest was so obviously a violation of the First Amendment

that ten members of the Laredo Police Department (“LPD”) should be subject to


    1
      Pursuant to Federal Rule of Appellate Procedure 28(i), Texas adopts the more
detailed statement of the case contained in the brief of Defendants-Appellees the
City of Laredo, Claudio Treviño, Jr., Juan L. Ruiz, Deyanria Villarreal, Enedina Mar-
tinez, Alfredo Guerrero, Laura Montemayor, and Does 1-2.
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personal liability for monetary damages notwithstanding that (1) the officers had a
facially valid warrant, (2) the statute itself is facially valid, and (3) there was no on-

point case demonstrating that an arrest under these circumstances is unconstitu-

tional. The dissent was correct that the panel majority’s reasoning misstated Texas

law and misapplied well established jurisprudence regarding both the First Amend-

ment and the scope of qualified immunity.2

    For decades, it has been “the policy of [Texas] that each person is entitled, un-
less otherwise expressly provided by law, at all times to complete information about

the affairs of government and the official acts of public officials and employees.”

Tex. Gov’t Code § 552.001. Any exceptions to that policy—which is embodied in

the Texas Public Information Act or “TPIA”—must, by law, be “liberally con-

strued” in favor of transparency to the public. Id. These exceptions are designed to

protect other important interests such as, for example, maintaining the integrity of

ongoing criminal investigations, preserving the confidentiality of attorney-client

communications for governmental entities, and protecting constitutional zones of

privacy for Texas citizens. See Paxton v. City of Dallas, 509 S.W.3d 247, 249-50 & n.3
(Tex. 2017) (citing Tex. Gov’t Code §§ 552.101-.156). To protect these same im-

portant interests, Texas has criminalized certain forms of misuse of information

“that is prohibited from disclosure” under the TPIA. Tex. Penal Code § 39.06(d).



    2
       Although Chief Judge Richman concurred in part and dissented in part, this
brief refers to her opinion as “the dissent” in the text, consistent with the terminol-
ogy used in the concurrence and to distinguish the Chief Judge’s opinion from the
concurrence.

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The only question in this appeal is whether that law is so obviously unconstitutional

as applied to a self-styled “citizen journalist” who solicited and received protected

information that any reasonable police officer should have known that it could not be

enforced—notwithstanding the issuance of an otherwise facially valid arrest warrant
by a neutral magistrate. It is not.

                     Summary of the Argument
    The now-twice-vacated majority opinion from this Court held that because there

is a right to pray and to publish the Pentagon Papers, it would have been “obvious”
to any reasonable officer that Villarreal had the right to ask for and receive infor-

mation not yet released to the public concerning a suicide and a fatal car accident.

But that leap ignored the nuances in the very cases upon which it relied. Villarreal v.

City of Laredo, 17 F.4th 532, 540 (5th Cir. 2021) (Villarreal I); Villarreal v. City of

Laredo, 44 F.4th 363, 371-72 (5th Cir. 2022) (Villarreal II). After all, in Sause v.

Bauer, the Supreme Court did not hold that Sause had an obvious right to pray; it
sent the case back for details concerning the actions of her and the officers. 138 S. Ct.

2561 (2018) (per curiam). In New York Times Co. v. United States, the Supreme Court

did not absolve the press from all criminal liability for stolen intelligence; it denied

an injunction against the publication of information already obtained without illegal

action from the press. 403 U.S. 713 (1971) (per curiam). The Supreme Court has

never recognized an unfettered right to access all sensitive information, at all times,
for all purposes—whether asserted by the press or anyone else. See Bartnicki v. Vop-

per, 532 U.S. 514, 528 (2001).



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    The ten individual defendants were entitled to qualified immunity because rea-
sonable officers would not have been on notice of an alleged constitutional violation

from the statute itself. The First Amendment is a notoriously difficult and nuanced

area of law. Indeed, there is an entire body of caselaw specific to when solicitation

laws like (at least one part) of the challenged statute are consistent with the First

Amendment. E.g., Edenfield v. Fane, 507 U.S. 761, 767 (1993) (distinguishing Ohralik

v. Ohio, 436 U.S. 447 (1978)). While acknowledging there was no on-point case in-
volving analogous facts, the panel majority eschewed any of this nuance by describ-

ing the question as whether a State can imprison someone for “asking a question.”

And in its original opinion, they found the answer obvious and section 39.06(c) “pa-
tently unconstitutional.” Villarreal I, 17 F.4th at 541. Upon reconsideration, the

panel majority correctly concluded that section 39.06(c), which does no more than

restrict the solicitation or receipt of certain limited, statutorily defined classes of in-
formation in the hands of the government, is not unconstitutional “[o]n its face.”

Villarreal II, 44 F.4th at 372.3 Given that the named defendants had a facially valid

warrant to enforce a facially valid law, this case should have been an easy one to apply

qualified immunity.

    Nevertheless, the panel majority concluded in its revised opinion (Villarreal II)

that there was an obvious constitutional violation and that any reasonable police of-
ficer would have known that the statute could not be enforced against Villarreal



    3
      The panel never addressed Villarreal’s now-abandoned claim, which she
pressed in state court, that the statute is unconstitutionally vague.

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because she was simply “asking a question.” Id. at 375. This conclusion, however,
reflects the same legal errors that infected the original opinion. Section 39.06(c) pe-

nalizes receipt, not simply solicitation, and Villarreal’s actions involved both.

ROA.166, 170. In addition, Villarreal’s operative complaint contains no well-pleaded

facts to show that the officers knew the warrant lacked probable cause, which is

enough to satisfy the Fourth Amendment. Moreover, in the absence of a binding case

addressing factually analogous circumstances, the panel majority should have con-
cluded that the officers reasonably relied upon the neutral magistrate’s conclusion

that there was probable cause to arrest Villarreal for violating a facially valid statute.

                                    Argument
    “Qualified immunity shields government officials from civil damages liability
unless the official violated a statutory or constitutional right that was clearly estab-

lished at the time of the challenged conduct.” Reichle v. Howards, 566 U.S. 658, 664

(2012). Qualified immunity applies even when the government official makes a mis-

take of law, of fact, or both. Pearson v. Callahan, 555 U.S. 223, 236 (2009). “A plain-

tiff must clear a significant hurdle to defeat qualified immunity.” Brown v. Lyford,

243 F.3d 185, 190 (5th Cir. 2001).

    The inquiry into whether qualified immunity applies to an official turns on two

questions: (1) whether the official violated a statutory or constitutional right, and, if

so, (2) was the defendant’s “conduct objectively reasonable in light of clearly-estab-

lished law.” Powers v. Northside Indep. Sch. Dist., 951 F.3d 298, 305-06 (5th Cir.

2020). To be clearly established the right must be so clear “that every reasonable

official would have understood that what he is doing violates that right.” Ashcroft v.

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al-Kidd, 563 U.S. 731, 741 (2011) (quoting Anderson v. Creighton, 483 U.S. 635, 640
(1987)). Thus, “existing precedent must have placed the statutory or constitutional

question beyond debate.” Id. A government official’s conduct is “objectively rea-

sonable” if, given the totality of the circumstances and clearly established law at the

time of the challenged act, the official’s act was objectively reasonable. Powers, 951

F.3d at 306.

    The State does not dispute that if a statute is obviously unconstitutional, it would
be difficult for a reasonable officer to show that enforcing the statute was “objection-

ably reasonable in light of clearly established law.” Id. at 305-06. But even the panel

majority acknowledges section 39.06(c) is not such a law. That probably explains
why a state judge—who is not alleged to be involved in any “conspiracy” to get back

at Villarreal for past negative coverage, see ROA.154-57—issued an arrest warrant.

The panel erred in holding that any of the named officers—let alone all ten of them—
behaved in an objectively unreasonable manner in relying upon that warrant.

I. Section 39.06(c) Is Facially Constitutional—or at Least Not
   Obviously Unconstitutional Under Existing Precedent.

    A. Section 39.06(c) does not abridge the freedom of expression.
    Laws implicating the First Amendment involve “intrusions upon speech or as-

sembly,” “prior restraint or restriction on what the press may publish,” or an “ex-
press or implied command that the press publish what it prefers to withhold.”

Branzburg v. Hayes, 408 U.S. 665, 681 (1972). Section 39.06(c) does none of those

things: it limits individuals’ access to “government information or sources of infor-
mation within the government’s control.” Houchins v. KQED, Inc., 438 U.S. 1, 15


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(1978). Moreover, it is best read as either a prohibition against incitement of a crime
or a regulation of conduct. Neither of those is a law “abridging the freedom of

speech, or of the press.” U.S. Const. amend. 1.

        1.     There is no freestanding, unfettered First Amendment right to
               “gather news.”
    No one disputes the importance of an “untrammeled press” or the need for “in-

formed public opinion” to check government misconduct. Grosjean v. Am. Press Co.,

297 U.S. 233, 250 (1936). That has been Texas’s public policy for decades. Tex.

Gov’t Code § 552.001. But Villarreal is wrong to assert there is also a “clearly estab-

lished First Amendment right to lawfully gather . . . information on newsworthy is-

sues.” ROA.169. To the contrary, courts—including this one—have recognized

“[t]he right to speak and publish does not carry with it an unrestrained right to gather
information.” Zemel v. Rusk, 381 U.S. 1, 17 (1965) (emphasis added); Calder v. IRS,

890 F.2d 781, 783-84 (5th Cir. 1989).

    a. This conclusion flows from the First Amendment itself, its history, and the

values judgment that it represents. Starting with the text: the First Amendment says

nothing about gathering news. Instead, it provides that “Congress shall make no

law . . . abridging the freedom of speech, or of the press.” U.S. Const. amend. 1. As
this Court has recognized, “the ‘core meaning’ of ‘abridge’ is to ‘shorten,’ and

shortening ‘necessarily entails a comparison.’” Tex. Democratic Party v. Abbott, 978

F.3d 168, 191 (5th Cir. 2020) (quoting Reno v. Bossier Parish Sch. Bd., 528 U.S. 320,

334 (2000)).




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    To determine that “freedom of the Press” cannot be abridged requires the
Court to look at the content of that right at the time the First Amendment was rati-

fied—typically by examining the ills at which it was aimed. E.g., Dist. of Columbia v.

Heller, 554 U.S. 570, 605-10 (2008). The panel majority made no effort to perform

such analysis. But in Grosjean, the Supreme Court noted the Amendment arose out

of a “persistent effort” to muzzle free expression of unfavorable commentary con-

cerning the government, Grosjean, 297 U.S. at 245—not a belief that the government
was under an affirmative obligation to provide information to be published against it.

For example, in 1644, John Milton wrote an “Appeal for the Liberty of Unlicensed

Printing,” challenging a recent act of Parliament that allowed censorship of the press
prior to publication. Id. Milton’s work “vigorously defended the right of every man

to make public his honest views ‘without previous censure.’” Id. In 1712, Queen

Anne encouraged Parliament to impose a tax on all newspapers and advertisements,
whose main purpose was “to suppress the publication of comments and criticisms

objectionable to the Crown.” Id. at 246. The next hundred years involved more

taxes, more resistance to those taxes, and so on. Id.

    As a result of this history, the Court concluded in Grosjean that “the First

Amendment . . . was meant to preclude the national government, and by the Four-

teenth Amendment to preclude the [S]tates, from adopting any form of previous re-

straint upon printed publications, or their circulation, including that which had

theretofore been effected by these two wellknown and odious methods.” Id. at 249.

But a constitutional prohibition against abridging speech is not an obligation to in-

crease speech. Tex. Democratic Party, 978 F.3d at 191. The government is not

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obligated to provide information, even if doing so would assist in creating more
speech. See id. As the Court noted in Houchins, “[t]he Constitution itself is neither

a Freedom of Information Act nor an Official Secrets Act.” 438 U.S. at 14-15 (quot-

ing Potter Stewart, Or of the Press, 26 Hastings L.J. 631, 636 (1975)). Although “the

role of the media is important,” and “they can be a powerful and constructive

force,” “like all other components of our society media representatives are subject

to limits.” Id. at 8. One of those limits, Chief Justice Burger explained, is that while
the Constitution protects “the freedom of the media to communicate information

once it is obtained,” there is nothing in “the Constitution [that] compels the govern-

ment to provide the media with information or access to it on demand.” Id. at 9.
Although “[t]here is an undoubted right to gather news ‘from any source by means

within the law,’ . . . that affords no basis for the claim that the First Amendment

compels others—private persons or governments—to supply information.” Id. at 11
(quoting Branzburg, 408 U.S. at 681-82).

    The need to observe that limit has, if anything, become more apparent. In the

digital age, both state and national governments receive, create, or maintain enor-

mous amounts of information regarding private individuals. See Office of the Dir. of

Nat’l Intel., Statistical Transparency Report: Regarding the Use of National Security Au-

thorities for Calendar Year 2016 (Apr. 2017), https://tinyurl.com/yk2a4yx8. If the

First Amendment guarantees access to government information, there are virtually

no limits on this right because, as the Supreme Court noted more than 50 years ago,

“[t]here are few restrictions on action which could not be clothed by ingenious argu-

ment in the garb of decreased data flow.” Zemel, 381 U.S. at 16-17. But the Supreme

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Court has recognized that the First Amendment interest in ensuring a well-informed
public does not create “a constitutional right to have access to particular government

information, or to require openness from the bureaucracy.” Houchins, 438 U.S. at 14

(quoting Stewart, supra, at 636); accord Regan v. Wald, 468 U.S. 222, 241-42 (1984)

(reaffirming Zemel’s rule that a ban on travel may “diminish[] the right to gather

information” but “no First Amendment rights . . . were implicated”).4

    b. Contrary to the panel majority’s suggestion, e.g., Villarreal II, 44 F.4th at
387, the mere fact that Villarreal considers herself a “journalist” does not change

the First Amendment analysis. After all, “the publisher of a newspaper has no spe-

cial immunity from the application of general laws. He has no special privilege to

invade the rights and liberties of others.” Branzburg, 408 U.S. at 683 (quoting Assoc.

Press v. NLRB, 301 U.S. 103, 132-33 (1937)). “Routine newsgathering” is not a term

in the Constitution, and it has no special constitutional protection—as this Court’s

sister circuits have recognized. E.g., PG Publ’g Co. v. Aichele, 705 F.3d 91, 99 (3d Cir.

2013).

    Villarreal is correct (e.g., at 18-19) that the Supreme Court has stated that “[a]
free press cannot be made to rely solely upon the sufferance of government to supply

it with information,” Smith v. Daily Mail Publ’g Co., 443 U.S. 97, 104 (1979). But the



    4
      A State can, of course, choose to make public information in its possession that
the Constitution would permit it to keep private, Tex. Gov’t Code § 552.001, or even
immunize journalists from crimes of general applicability, such as stalking, see, e.g.,
Nev. Rev. Stat. § 200.575(6)(g)(2) (2009). This does not mean such policies are con-
stitutionally mandated.

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statement does not mean what she thinks: it referred to the fact that the press may
publish lawfully obtained information even if the government does not provide or

“ma[k]e possible press access to the information.” Id. at 103. That statement neither

establishes a government obligation to share information with the press nor immun-

izes the press from generally applicable criminal laws protecting government infor-

mation.

    To the contrary, in Los Angeles Police Department v. United Reporting Publishing
Corp., the Supreme Court held that a California law that “places two conditions on

public access to arrestees’ addresses” based on the requestor’s purpose was not sub-

ject to “facial invalidation” under the First Amendment because it was “not a case
in which the government is prohibiting a speaker from conveying information that

the speaker already possesses.” 528 U.S. 32, 34, 40 (1999). Rather, the statute “is

nothing more than a governmental denial of access to information in its possession.”
Id. at 40. The Court agreed with the petitioners that “the section in question is not

an abridgment of anyone’s right to engage in speech . . . but simply a law regulating

access to information in the hands of the police department.” Id. “California,” the

Court added, “could decide not to give out arrestee information at all without vio-

lating the First Amendment.” Id.

    And, as the Supreme Court explained in Bartnicki, the Court’s opinion involving

the Pentagon Papers—upon which the panel majority relied so heavily to find a

clearly established constitutional violation—“raised, but did not resolve, the ques-

tion ‘whether, in cases where information has been acquired unlawfully by a newspa-

per or by a source, government may ever punish not only the unlawful acquisition,

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but the ensuing publication as well.’” 532 U.S. at 528 (quoting The Florida Star v.
BJF, 491 U.S. 524, 535 n.8 (1989)). And that is not the only time the Court has de-

liberately left open the question of “the possible applicability” of regulations regard-

ing the publication of information against one “who secures the information by ille-

gal means and thereafter divulges it.” Landmark Commc’ns, Inc. v. Virginia, 435 U.S.

829, 837 (1978); see also The Florida Star, 491 U.S. at 535 n.8.

    Villarreal cites (at 14) The Florida Star in support of her assertion that “the First
Amendment generally forbids the government from punishing a citizen for the gov-

ernment’s failure to protect sensitive information.” But that proves too much: an

individual who gains government information through trespassing, hacking, theft,
and bribery is criminally liable even if his success hinged on “the government’s fail-

ure to protect sensitive information.” The Florida Star did not say otherwise; it held

only that having treated supposedly nonpublic information as if it were public infor-
mation, the government cannot treat the press’s use of the information as a use of

confidential information. 491 U.S. at 538. And, in any event, The Florida Star dealt

with a statute penalizing publication of information, not acquisition of it. Id. at 534.

    Although the panel majority considered the question obviously closed, other

courts have recognized that the question of whether a person can be punished for

improperly obtaining information remains open. For example, in United States v.

Rosen, the United States prosecuted two lobbyists who allegedly cultivated relation-

ships with Department of Defense officials to obtain sensitive government intelli-

gence, which the lobbyists “orally communicated” to individuals not entitled to re-

ceive it—including the media—to influence United States foreign policy. 445 F.

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Supp. 2d 602, 608, 631 (E.D. Va. 2006), amended, No. 1:05CR225, 2006 WL
5049154 (E.D. Va. Aug. 16, 2006), and aff’d, 557 F.3d 192 (4th Cir. 2009). The lob-

byists were charged with conspiracy to violate 18 U.S.C. § 793, which concerns

“[g]athering, transmitting, or losing defense information.” 18 U.S.C. § 793(d)-(e),

(g). The lobbyists challenged the statute on, among other grounds, its alleged prohi-

bition on speech—they had simply received the information, then orally transmitted

it. Looking to the example of the Pentagon Papers, the district court noted that “[o]f
the six Justices concurring in the result three—Justices Stewart, White and Mar-

shall—explicitly acknowledged the possibility of a prosecution of the newspapers un-

der section 793(e).” 445 F. Supp. 2d at 638. See N.Y. Times, 403 U.S. at 730 (Stew-
art, J., concurring); id. at 737 (White, J., concurring with Stewart, J.); id. at

745 (Marshall, J., concurring). And the “opinions of the other concurring justices

arguably support, or at least do not contradict, the view that the application of
§ 793(e) to the instant facts would be constitutional.” Rosen, 445 F. Supp. 2d at 638.

    c. The lower court cases upon which Villarreal relies are not to the contrary.

As an initial matter, under recent Supreme Court caselaw, it is far from clear that the

circuit courts’ decisions “qualify as controlling authority for purposes of qualified

immunity.” District of Columbia v. Wesby, 138 S. Ct. 577, 591 n.8 (2018). But even if

they do, they show no obvious violation here. In particular, Villarreal relies (at 18)

on this Court’s decision in Turner v. Lieutenant Driver, but there again this Court

held that the plaintiff could record public police activity “subject to reasonable time,

place, and manner restrictions.” 848 F.3d 678, 690 (5th Cir. 2017). The Court also

viewed recording police conduct as “creating” speech, not acquiring it from the

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government. See id. at 688-89. And the cases on which Turner relied did not extend
that holding to nonpublic government information, either.5

    The panel majority countered that “[i]f the government cannot punish someone

for publishing the Pentagon Papers, how can it punish someone for simply asking for

them?” Villarreal II, 44 F.4th at 371. But for at least three of the Justices—whose

votes were necessary under Marks v. United States, 430 U.S. 188 (1977)—the only

reason the defendants succeeded in New York Times was that the government sought
an injunction but failed to prove the harm was sufficiently “direct, immediate, and

irreparable” to justify that relief. N.Y. Times, 403 U.S. at 730 (Stewart, J., with whom

White, J., joins, concurring); see id. at 731 (White, J., with whom Stewart, J., joins,
concurring); see id. at 734-44 (Marshall, J., concurring). Moreover, publishing infor-

mation already in your possession is different from acquiring and asking is different

from soliciting and receiving. The words of section 39.06(c) concern the latter, not
the former, which is conduct that is unprotected by the First Amendment.




    5
       See, e.g., Gericke v. Begin, 753 F.3d 1, 8 (1st Cir. 2014) (repeatedly describing a
right to videotape police “performing their duties in public”); Am. Civ. Liberties Un-
ion v. Alvarez, 679 F.3d 583, 597 (7th Cir. 2012) (finding statute that “prohibits non-
consensual audio recording of public officials performing their official duties in pub-
lic” unconstitutional); Glik v. Cunniffe, 655 F.3d 78, 82 (1st Cir. 2011) (concerning
“[t]he filming of government officials engaged in their duties in a public place”);
Smith v. City of Cumming, 212 F.3d 1332, 1333 (11th Cir. 2000) (concerning filming
“what public officials do on public property”).

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           2. Section 39.06(c) criminalizes conduct, not merely “asking a ques-
              tion.”
     Once Villarreal’s incorrect assertions that the Constitution protects “routine

reporting techniques” are set aside, see, e.g., Appellant’s Suppl. Br. 34, it becomes

clear that section 39.06(c) can be satisfied based entirely on conduct—namely the

receipt or access of confidential data. Villarreal admits that she “received” infor-

mation from her inside contact at LPD, ROA.166, which is a sufficient ground for

prosecution absent any verbal solicitation, Tex. Penal Code § 39.06(c). To be

charged with criminal receipt of an item, Texas law typically requires that the de-

fendant must know that he does not have “official” consent to possess the infor-

mation. See, e.g., Receiving Stolen Property, 6 Tex. Prac., Tex. Crim. Law § 18.8 (2d

ed. 2021) (“the sine qua non of theft is the defendant’s knowledge that the defendant
does not have the owner’s consent to dispose of the property”). As a result, “[t]he

manner in which he came to possess it”—in this instance, whether Villarreal asked

for the information—“is not an essential element” of such a crime. Chavez v. State,

843 S.W.2d 586, 588 (Tex. Crim. App. 1992) (en banc). Under Rosen, and the cases

it cites, there is no constitutional infirmity with criminalizing the non-expressive act

of receiving information. Supra Part I.A.1.b. And the constitutionality of the “solic-

its” element cannot be part of her as-applied challenge to a charge based on such

receipt.

           3. Section 39.06(c) falls outside the First Amendment because it pro-
              hibits inducing a public servant to engage in a felony.
     a. But assuming the solicitation aspect of section 39.06(c) is even at issue, the

panel still erred in holding it clearly unconstitutional. To start, the dissent was


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correct (at Villarreal II, 44 F.4th at 382) that the panel majority drastically overread
the statute’s scope in two ways by characterizing it as a ban on “ask[ing] a question

about nonpublic information from LPD officials other than the department’s desig-

nated spokesperson.” Villarreal II, 44 F.4th at 377 (suggesting the statute covers a

broad variety of journalistic activity).

    First, it is very unlikely that a Texas court would interpret “solicit” in section

39.06(c) to extend so far. “Solicit” has several potential meanings. It can mean to
“elicit” information, as the panel majority seems to suggest, see, e.g., Villarreal II, 44

F.4th at 377, but that is generally considered a mistake, see Bryan A. Garner, A Dic-

tionary of Modern Legal Usage 816 (2d ed. 1995) (describing this use of “solicit” as
a malapropism). In the criminal context, solicitation is more akin to incitement. For

example, under the Texas Penal Code, “[a] person is criminally responsible for an

offense committed by the conduct of another if: (1) acting with the kind of culpability
required for the offense, he causes or aids an innocent or nonresponsible person to

engage in conduct prohibited by the definition of the offense; (2) acting with intent

to promote or assist the commission of the offense, he solicits, encourages, directs,

aids, or attempts to aid the other person to commit the offense; or (3) having a legal

duty to prevent commission of the offense and acting with intent to promote or assist

its commission, he fails to make a reasonable effort to prevent commission of the

offense.” Tex. Penal Code § 7.02 (emphasis added). The Model Penal Code uses

the terms “commands” and “encourages” in its definition of criminal solicitation.

Model Penal Code § 5.02 (2001). Black’s defines the term as the “criminal offense

of urging, advising, commanding, or otherwise inciting another to commit a crime.”

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Solicit, Black’s Law Dictionary 1677 (11th ed. 2019). And this Court has explained
that the “gravamen of the offense of soliciting lies in counseling, enticing or inducing

another to commit a crime.” United States v. Mejia-Aguilar, 575 Fed. App’x 233, 238

(5th Cir. 2014) (quoting State v. Furr, 235 S.E.2d 193 (N.C. 1977)) (quotation marks

omitted). Put another way, the panel majority’s view was that “solicit” means to

request something; most criminal definitions of solicitation mean to actually cause

something to happen. See id.6
    By employing a broad definition of “solicit” that most grammarians would con-

sider a mistake, the panel majority failed to consider “the consequences of a partic-

ular construction.” Ex parte Perry, 483 S.W.3d 884, 903 (Tex. Crim. App. 2016). In

particular, because the penalty for all the conduct in subsections (a), (b), and (c) is

the same, the panel majority’s reading would lead to a request for confidential gov-

ernment information that does not exist receiving the same punishment as actual dis-
closure or use of confidential government information by the individuals who owe

loyalty to the government. That is not how the Texas Court of Criminal Appeals

would interpret the statute (see Ex parte Perry), or how a federal court would typically

read a federal statute, see Clark v. Martinez, 543 U.S. 371, 380 (2005) (“when



    6
      Even outside the criminal context, to “solicit” typically requires more than just
a question. Instead, it usually means to “entreat, importune,” “to strongly urge (as
one’s cause or point): insist upon,” to “demand as a requisite”—not merely to ask
for information. Solicit, Webster’s Third New International Dictionary 2169 (2002);
accord Solicit, Merriam-Webster’s Collegiate Dictionary 1187 (11th ed. 2003); Solicit,
Webster’s New World College Dictionary 1382 (5th ed. 2016); Solicit, American
Heritage Dictionary of the English Language 1666 (5th ed. 2016).

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deciding which of two plausible statutory constructions to adopt, a court must con-
sider the necessary consequences of its choice”). And it would be particularly im-

proper for a federal court to read a Texas statute this way, “where it is not even clear

the State itself would consider its law” to operate that way. Morales v. Trans World

Airlines, Inc., 504 U.S. 374, 382 (1992).

    To the contrary, Texas law is very particular about when “solicit” means an

inchoate request (such as that contemplated by the panel majority) or a completed
offense. That is, when the Texas Legislature wants to penalize an inchoate request,

it typically pairs “solicits” with “accepts, or agrees to accept.” See, e.g., Tex. Penal

Code §§ 32.43(b) (Commercial Bribery), § 32.44(b) (Rigging Publicly Exhibited
Contest), § 32.441(a) (Illegal Recruitment of Athlete), § 36.02 (Bribery), § 36.05(b)

(Tampering with Witness), § 36.07(a) (Acceptance of Honorarium), § 36.08 (Gift

to Public Servant by Person Subject to His Jurisdiction). By contrast, when the Leg-
islature pairs “solicits” with “receives,” it typically refers to a completed offense.

See, e.g., id. § 43.03(a) (Promotion of Prostitution); see Duffield v. State, 643 S.W.2d

139, 140 (Tex. Crim. App. 1982); Green v. State, 208 S.W. 514, 514-15 (Tex. Crim.

App. 1919); Sanders v. State, 129 S.W. 605, 606 (Tex. Crim. App. 1910). When the

Legislature wants to criminalize both forms of solicitation—an offer and a completed

act—“solicits” stands alone. See Tex. Penal Code § 32.35(c).7



    7
      These differences in verbiage cannot be explained by the passage of time. All
of the Penal Code provisions listed above were altered at the same time that the mod-
ern version of section 39.06(c) was adopted. See Act of May 29, 1993, 73rd Leg., R.S.,
ch 900, § 1.01, 1993 Tex. Gen. Laws 3586.

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    Because section 39.06(c) pairs “solicit” and “receives,” the panel majority
should have adopted the definition of “solicits” that refers to the completed act—

to induce or convince a government employee to provide information she is legally

obligated to keep confidential—not an inchoate request. Standard rules of interpre-

tation applied by both federal and state courts would have also favored this narrower

interpretation, which avoids many of the constitutional problems highlighted by the

panel majority. See Clark, 543 U.S. at 380-81; State v. Johnson, 475 S.W.3d 860, 872
(Tex. Crim. App. 2015).

    Second, even assuming asking a question could be solicitation, the definition of

“nonpublic information” contained in section 39.06(d) is far narrower than the
panel majority suggests. Section 39.06(d) defines “information that has not been

made public” as “any information to which the public does not generally have ac-

cess, and that is prohibited from disclosure under Chapter 552, Government
Code”—the TPIA. Although the TPIA has about sixty exceptions, many are discre-

tionary. See City of Dallas, 509 S.W.3d at 254. Only a subset of them includes infor-

mation that a public employee could not “voluntarily disclose . . . without being

criminally sanctioned.” Id.; see also State v. Ford, 179 S.W.3d 117, 123 (Tex. App.—

San Antonio 2005, no pet.). These include “other statutes, judicial decisions, and

rules promulgated by the judiciary” designed to protect—among other things—the

privacy or proprietary rights of third parties. Tex. Dep’t of Pub. Safety v. Cox Tex.

Newspapers, L.P., 343 S.W.3d 112, 114 (Tex. 2011); see also Tex. Gov’t Code

§ 552.101. Section 39.06(c) targets that information that it would be illegal to disclose

based on pre-existing law or from knowing violation of the TPIA. Anyone—press or

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otherwise—can request that a government entity disclose information under the
Act, and government entities are required to respond to such requests “promptly,”

“as soon as possible under the circumstances,” and “without delay.” Tex. Gov’t

Code §§ 552.221(a), 552.234(a). If a requestor is dissatisfied with the result, he may

appeal to the Attorney General, and then to a district court. Id. §§ 522.305(b),

552.325. Thus Section 39.06(c) also targets those actors who knowingly disregard

the procedures for gaining government permission, or who reject the government
entity, the Attorney General, and/or a state court’s decision to prohibit disclosure.

    It is this narrow scope of section 39.06(c), not some conspiracy to pick on Villar-

real, that explains how infrequently the statute has been invoked. Contra Appellant’s
Suppl. Br. 8-9. Nevertheless, section 39.06 has been employed by other Texas juris-

dictions. For example, in Tidwell v. State, a county attorney was prosecuted under

section 39.06 for using information obtained from the Texas Medical Board to retal-
iate against nurses who reported a hospital for protecting an incompetent doctor.

Tidwell v. State, No. 08-11-00322-CR, 2013 WL 6405498, at *3, *6-7, *11 (Tex.

App.—El Paso Dec. 4, 2013, pet. ref’d) (not designated for publication). In Patel v.
Trevino, a constable in Harris County claimed she was fired by her supervisor for

reporting that her supervisor had allowed her husband access to classified papers and

equipment even though he was a felon on probation, which the court suggested was

a violation of 39.06. Patel v. Trevino, No. 01-20-00445-CV, 2022 WL 3720135, at *11-

13 (Tex. App.—Houston [1st Dist.] Aug. 30, 2022, no pet.) (mem. op.). And in State

v. Martinez, “[c]onfidential information was leaked to the local newspaper and a tel-

evision station concerning an ongoing investigation into administrative issues within

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the police department,” allegedly by the deputy chief of police. 116 S.W.3d 385, 387
(Tex. App.—El Paso 2003, no pet.). These cases obviously do not demonstrate that

section 39.06(c) is immune from being applied unconstitutionally, but they belie the

notion that by its nature, the provision obviously infringes on the rights of the media

and press to report on the government. Instead, they demonstrate that it is typically

used to effectuate other vital public interests in protecting data in the hands of the

government.
    b. The statute’s ban on solicitation falls well within constitutional bounds. Alt-

hough “[t]he First Amendment provides that ‘Congress shall make no

law . . . abridging the freedom of speech,’” “[f]rom 1791 to the present . . . the First
Amendment has permitted restrictions upon the content of speech in a few limited

areas, and has never included a freedom to disregard these traditional limitations.”

United States v. Stevens, 559 U.S. 460, 468 (2010) (quotation marks omitted). Those
categories of verbal activity—obscenity, defamation, fraud, incitement, and speech

integral to criminal conduct—“are ‘well-defined and narrowly limited classes of

speech, the prevention and punishment of which have never been thought to raise

any Constitutional problem.’” Id. at 468-69 (quoting Chaplinsky v. New Hampshire,

315 U.S. 568, 571-72 (1942)).

    The “constitutional freedom for speech and press [does not] extend[] its im-

munity to speech or writing used as an integral part of conduct in violation of a valid

criminal statute.” Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 498 (1949). And

“it has never been deemed an abridgement of freedom of speech or press to make a

course of conduct illegal merely because the conduct was in part initiated, evidenced,

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or carried out by means of language, either spoken, written, or printed.” Id. at 502;
see also id. (noting that otherwise, it would be impossible to enforce antitrust laws or

other “conspiracies deemed injurious to society”). For example, bribery is a crime.

See Butler v. State, No. 14-00-01186-CR, 2003 WL 253296, at *2 (Tex. App.—Hou-

ston [14th Dist.] Feb. 6, 2003, no pet.) (not designated for publication). And solici-

tation can be a crime—even if the underlying activity is not. Ohralik, 436 U.S. at 447.

Indeed, “nearly all states have a general prohibition on criminal solicitations.” Wil-
liam E. Lee, Probing Secrets: The Press and Inchoate Liability for Newsgathering Crimes,

36 Am. J. Crim. L. 129, 157-58 & n.195 (Spring 2009).8

    Because such speech—which is solely speech essential to commit a crime—is

unprotected, there is no need to engage in a First Amendment analysis weighing the

interests of the speaker with that of the government. See United States v. Perez, 43

F.4th 437, 444 (5th Cir. 2022) (holding that “unprotected true threats” made by
defendant meant that applying federal threat statute to him “did not violate his right

to free speech”). Even if section 39.06(c) fell outside the scope of when solicitation

may itself be criminalized, it would be constitutional because it applies only to indi-
viduals who knowingly solicit or receive nonpublic information that cannot be legally

disclosed by a public servant, Tex. Penal Code § 39.06(d), with the intent to benefit

or harm or defraud another, id. As explained above, there is no First Amendment

right to assist in the unlawful disclosure of such confidential information.



    8
     See, e.g., Fla. Stat. § 777.04; Ga. Code Ann. § 16-4-7; N.Y. Penal Law § 100.13;
18 Pa. Cons. Stat. Ann § 902; Tex. Penal Code § 15.03.

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    c. In response, Villarreal argues (at 14-15) that only the public servant who re-
leased the nonpublic information should be held liable for the criminal act. But that is

a policy argument—not a constitutional one.9 Looking to the Supreme Court’s

caselaw in this area, one commentator has summarized that as long as “the retention
of [the relevant] information is itself unlawful, and so long as the reporters are being

punished not for the act of publication itself, but for the unlawful gathering of secret

information, it is impossible to find any precedent in the Supreme Court’s jurispru-

dence that would recognize a First Amendment defense.” Stephen I. Vladeck, In-

choate Liability and the Espionage Act: The Statutory Framework and the Freedom of the

Press, 1 Harv. L. & Pol’y Rev. 219, 234 (2007) (emphases added). Section 39.06(c)

falls squarely within that framework, as it criminalizes the “solicitation or receipt”—

but not the publication—of certain specified information. Thus, far from “obvious,”

Appellant’s Suppl. Br. 14, any constitutional violation would have been “impossi-
ble” for the ten individual defendants here to have divined from Supreme Court

precedent, Vladeck, supra, at 234.

    B. Section 39.06(c) is not unconstitutionally vague.
    Nor would it have been “obvious” to Defendants that the statute was unconsti-

tutionally vague, as the state trial court found in assessing Villarreal’s pre-trial writ

of habeas corpus. ROA.179. Indeed, Villarreal appears to have abandoned any such


    9
      Villarreal’s argument also ignores that in almost every other context, the insti-
gator of the illegal conduct is as culpable as, if not more culpable than, the one who
acts. See also Holder v. Humanitarian Law Project, 561 U.S. 1, 27-28 (2010) (concern-
ing material support to terrorism).

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assertion. Although she made gestures at the theory in the trial court, see ROA.154,
169, her vague, conclusory allegations were never enough to state a claim for relief

under Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The panel decision never addressed

the argument, and Villarreal does not raise it in her supplemental brief. For good

reason.

    A statute that is so vague that it does not afford defendants fair notice of the

conduct proscribed is unconstitutionally vague in violation of the Due Process
Clause of the Fourteenth Amendment. Bailey v. Morales, 190 F.3d 320, 325-26 (5th

Cir. 1999). “What renders a statute vague is not the possibility that it will sometimes

be difficult to determine whether the incriminating fact it establishes has been
proved; but rather the indeterminacy of precisely what that fact is.” United States v.

Williams, 553 U.S. 285, 306 (2008). In Williams, the Supreme Court provided the

example of statutes with requirements such as “annoying” or “indecent”—“wholly
subjective judgments without statutory definitions, narrowing context, or settled le-

gal meanings.” Id.

    Section 39.06(c)’s relevant terms—“confidential,” “public information,” and

“public official”—are all defined by the Texas Legislature, and show no such “in-

determinacy,” id. In Williams, the Supreme Court actually used the term “solicita-

tion” as a benchmark for constitutional clarity. Specifically, the Court concluded the

phrase “in a manner intended to cause another [] to believe” was constitutionally

sound because courts and juries “pass every day upon the reasonable import of a

defendant’s statements.” 553 U.S. at 306-07. The Court likened the exercise to

when courts and juries determine whether statements “fairly convey a false

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representation . . . or a threat of physical injury,” as well as statements at issue in
“laws against fraud, conspiracy, or solicitation.” Id. “Receive” has a similarly

straightforward meaning. Supra Part I.A.2. And the inclusion of a specific-intent re-

quirement—namely, that the solicitation or receipt be done “with intent to harm or

defraud another,” id.—“‘alleviate[s] vagueness concerns,’ ‘narrow[s] the scope of

the prohibition[,] and limit[s] prosecutorial discretion.’” McFadden v. United States,

576 U.S. 186, 197 (2015) (quoting Gonzales v. Carhart, 550 U.S. 124, 149 (2007)).
Thus, the finding by a state court was not only after the alleged violation here—and

thus could not have provided notice to the defendants, see Villarreal II, 44 F.4th at

384 (Richman, C.J., concurring in part and dissenting in part)—it was also wrong.
                                         ***

    In sum, the panel majority’s original opinion that section 39.06(c) was “obvi-

ously” unconstitutional, Villarreal I, 17 F.4th at 541, was entirely incorrect, as its
own revised opinion at least implicitly acknowledged, Villarreal II, 44 F.4th at 372

(“On its face, Texas Penal Code § 39.06(c) is not one of those ‘obviously unconsti-

tutional’ statutes.”). The panel majority’s revised opinion erred, however, in con-
tinuing to project the view that section 39.06(c) could not have been constitutionally

applied on the facts of this case in the absence of controlling, on-point precedent.




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II. The Individual Defendants Are Entitled to Qualified Immunity for the
    Manner in Which Section 39.06(c) Was Applied to Villarreal.

    A. The panel examined the “obviously unconstitutional” exception
       at too high a level of generality.
    Notwithstanding its conclusion that “section 39.06(c) is not . . . obviously un-

constitutional,” the panel majority held that Defendants were not entitled to quali-

fied immunity because any reasonable officer would have known that “Villarreal has

a constitutional right to ask questions of public officials.” Villarreal II, 44 F.4th at

371-72 (quotation marks omitted). Assuming the answer to that question is as obvi-

ous as the panel majority suggests, respectfully, it is not the right question. “The

Supreme Court recently—and forcefully—underscored this point in Ashcroft v. al-
Kidd, where it noted, with some exasperation, that it has ‘repeatedly told courts . . .

not to define clearly established law at a high level of generality.’” Morgan v. Swan-

son, 659 F.3d 359, 372 (5th Cir. 2011) (quoting al-Kidd, 563 U.S. at 742). After all,
“if the test of ‘clearly established law’ were to be applied at this level of generality,

it would bear no relationship to the ‘objective legal reasonableness’ that is the touch-

tone of qualified immunity.” Id. (quoting Anderson, 483 U.S. at 635). And
“[p]laintiffs would be able to convert the rule of qualified immunity . . . into a rule of

virtually unqualified liability simply by alleging violation of extremely abstract

rights.” White v. Pauly, 580 U.S. 73, 79 (2017) (per curiam) (quoting Anderson, 483

U.S. at 639).

    Instead, the qualified-immunity inquiry is a specific one, “which must be ‘par-

ticularized’ to the facts of the case.” Id. (quoting Anderson, 483 U.S. at 640). For
example, in Wood v. Moss, the Court began by noting that “[i]t is uncontested and

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uncontestable that government officials may not exclude from public places persons
engaged in peaceful expressive activity solely because the government actor fears,

dislikes, or disagrees with the views those persons express.” 572 U.S. 744, 756-57

(2014). But the “particular question” before the Court was “whether the protesters

have alleged violation of a clearly established First Amendment right based on the

agents’ decision to order the protesters moved from their original location in front

of the Inn, first to the block just east of the Inn, and then another block farther.” Id.
at 757 (emphasis added).

    The appropriate question here is therefore whether, under the particular cir-

cumstances Defendants faced—the evidence that Villarreal had, with the intent to
financially benefit (see Appellant’s Suppl. Br. 35), acquired information not yet made

public through official channels by the LPD spokesperson, concerning sensitive in-

formation potentially about crimes and certainly affecting families, from a public
servant who the LPD discovered was providing it to her, in violation of a facially

constitutional statute, and based on a warrant approved by both legal counsel and a

neutral magistrate, involving individuals who apparently had not displayed animus

toward Villarreal in years, was unconstitutional “beyond debate,” al-Kidd, 563 U.S.

at 741, because Villarreal is a journalist. Under existing precedent, the answer to that

question is “no”—the press are not immune from generally appliable criminal laws.

Supra Part I.A.1.b. At the very least, the answer is not obviously “yes.” Moreover,

though a prior restraint on publication of such unlawfully acquired information may

raise a First Amendment flag, criminalizing an individual’s decision to acquire infor-

mation through particular (illegal) means does not. Supra Part I.A.1.

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    B. The cases identified by the panel majority do not show an “obvi-
       ous” constitutional violation.
    In concluding that a constitutional violation here was nonetheless obvious, the

panel majority asserted that “the decision most analogous to this appeal is Sause v.

Bauer.” Villarreal II, 44 F.4th at 370. Texas does not disagree. But in describing

Sause, the majority again phrased the qualified-immunity question at a too-high level

of generality. Specifically, it focused, id. at 371, entirely on the Supreme Court’s

statement “[t]here [could] be no doubt that the First Amendment protects the right

to pray,” Sause, 138 S. Ct. at 2562, see 44 F.4th at 370. But just as significant to Sause
was the Court’s observation that there are “clearly circumstances in which a police

officer may lawfully prevent a person from praying at a particular time and place.”

Id. at 2562. For example, the Court said a suspect “does not have a right to delay”
transportation to jail “by insisting on first engaging in conduct that, at another time,

would be protected by the First Amendment.” Id. at 2562-63. Far from finding the

constitutional violation obvious, the Court held that it was “impossible” to deter-
mine if Sause’s constitutional rights had been violated without information on why

the officers were in her apartment, whether they had her consent to be there,

whether they had probable cause or some other ground consistent with the Fourth

Amendment to be in the apartment, the lawfulness of their entry, and what the offic-

ers wanted her to do while she wanted to pray. Id. at 2563. In other words, the Court

could not know whether the officers violated her rights—much less whether there

was clearly established law that would negate the officers’ qualified immunity—

without considering the totality of the circumstances. See id.



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    The question of whether Defendants violated Villarreal’s rights also requires the
Court to “consider the whole picture.” Wesby, 138 S. Ct. at 588. An opinion that

fails to “ask[] wh[at] a reasonable officer could conclude—considering all of the sur-

rounding circumstances” is an opinion that is subject to reversal. Id. (emphasis

added). In this case, the question is not whether Villarreal has a right to ask ques-

tions, just as the question in Sause was not whether Sause had a right to pray. The

question is whether, under the circumstances, Defendants violated Villarreal’s
clearly established right to freedom of speech (or of the press) by arresting her—

pursuant to a facially valid warrant—for violating a generally applicable law that

criminalizes receipt of nonpublic information from public servants for personal gain
or with intent to harm or defraud. The answer to that question is “no.”

    C. Villarreal’s arrest did not violate clearly established law.
    As the district court found, under these circumstances, Villarreal’s “claims pri-

marily arise from her investigation and arrest under § 39.06(c), allegedly without

probable cause.” See ROA.435. Whether the arrest was unconstitutional, and, if so,

whether qualified immunity nonetheless applies, determines the result of Villarreal’s

other claims. See ROA.435-46. In count two of the operative complaint, Villarreal

alleges that Defendants infringed on her Fourth Amendment rights because (1) her

arrest and detention were without probable cause, (2) the allegations against her—

presumably in support of the warrant—were false and retaliatory, and (3) “no rea-

sonable official would have considered [section 39.06(c)] to be constitutional.”

ROA.214. Thus, whether she has a Fourth Amendment claim is inextricably inter-

twined with whether section 39.06(c) could constitutionally be applied to her.

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    Nothing in Villarreal’s arrest violated clearly established law. The Fourth
Amendment protects “[t]he right of the people to be secure in their persons, houses,

papers, and effects, against unreasonable searches and seizures.” U.S. Const.

amend. IV. An arrest qualifies as a “seizure,” and therefore must not be unreasona-

ble. See al-Kidd, 563 U.S. at 735-36. The question of whether an arrest is unreasona-

ble “‘is predominantly an objective inquiry,’” id. at 736 (quoting Indianapolis v. Ed-

mond, 531 U.S. 32, 47 (2000))—namely, “whether the circumstances, viewed objec-
tively, justify the challenged action,” id. (quoting Scott v. United States, 436 U.S. 128,

138 (1978)). If the act is objectively reasonable, the subjective intent of the officer

“motivating” the arrest is irrelevant. Id. Here, the act was objectively reasonable
because there was probable cause to believe Villarreal had violated a statute, which,

as discussed above, was facially valid. Moreover, an independent magistrate had is-

sued a warrant—suggesting to a reasonable officer that the statute could be validly
applied to Villarreal.

         1.   Villarreal’s arrest was supported by probable cause.
    There is relatively little information in Villarreal’s complaint about the circum-

stances behind the warrant that led to her arrest, but what she does say demonstrates

that there was more than adequate probable cause to think that Villarreal violated

section 39.06(c). Villarreal notes that Ruiz alleged in the affidavit accompanying the

warrants “that Villarreal had received or solicited the name and condition of a traffic
accident victim and the name and identification of a suicide victim” from Officer

Goodman. ROA.170. She never challenges Ruiz’s statements about the type of



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information she solicited or claims that those statements in his affidavit were false.
And, tellingly, neither panel majority opinion said otherwise.

    We learn more about Villarreal’s theory from a New York Times article incorpo-

rated into Villarreal’s complaint. ROA.153 n.2. According to that article, after the

LPD saw Villarreal’s post with the name and employer of a man who committed

suicide, the LPD began:

    hunting down the source of other leaks to Ms. Villarreal. They identified a
    police officer suspected of supplying the information—a woman who had
    worked on the force for 19 years—after searching the officer’s phone and
    finding hundreds of calls exchanged with Ms. Villarreal. The department
    placed the officer on suspension for 20 days and said in a statement that the
    case against Ms. Villarreal involved an “obligation to the protection of a per-
    son’s right to privacy as it relates to sensitive information.”10

In other words, according to this article, the LPD investigated the source of the in-

formation Villarreal posted and found that it was released by Officer Goodman with-

out authorization. Id.

    These facts easily support probable cause that Villarreal violated section

39.06(c) of the Texas Penal Code, “Misuse of Official Information,” which penal-

izes a person who (1) has the intent to benefit or harm or defraud another, and (2)




    10
       Simon Romero, La Gordiloca: The Swearing Muckraker Upending Border Jour-
nalism, N.Y. Times Online, Mar. 10, 2019, https://tinyurl.com/29x7e6aw. A court
ruling on a motion to dismiss is permitted to rely on “documents incorporated into
the complaint by reference and matters of which a court may take judicial notice.”
Dorsey v. Portfolio Equities, Inc., 540 F.3d 333, 338-39 (5th Cir. 2008) (quoting Tell-
abs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308 (2007)).

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solicits or receives from a public servant information that the public servant had ac-
cess to by means of his office or employment and that has not been made public.

    a. The actus reus of section 39.06(c) requires that the accused solicit or receive

from a public servant nonpublic information—that is, information that the public

servant is forbidden from sharing under the TPIA, supra Part I.A.3.a—to which the

public servant had access due to her position. See Tex. Penal Code § 39.06(c). Vil-

larreal admits in her operative complaint that she received information from a public
servant: she reached out to LPD Officer Barbara Goodman for “corroborating infor-

mation” about a man who committed suicide and a family involved in a “fatal traffic

accident,” and she does not allege that she failed to gain any information from the
officer. ROA.166. Instead, Villarreal argues that the information was public “as [her]

initial receipt of the information from two non-governmental individuals”—one for

each incident—“demonstrates.” ROA.168. She also asserts that the information she
published was obviously not nonpublic under section 39.06(c). ROA.168.

    Her first argument fails on at least three fronts. First, it is far from clear that the

level of publicity she claims would remove otherwise confidential information from

the scope of section 39.06, which looks to either the terms of the TPIA or to whether

information is something the public “generally has access to.” Tex. Penal Code

§ 39.06(d). One person’s personal knowledge of a fact does not mean that the public

“generally has access” to the information. After all, unless she is dead, the victim

always knows the facts of the crime—that does not make all crime information pub-

lic. Villarreal seems to acknowledge as much by insisting (at 51) that she is “similarly

situated” to a hypothetical group of reporters who publish “publicly accessible

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information on a newsworthy matter.” But her complaint states no facts supporting
that conclusion, See Villarreal II, 44 F.4th at 386-88 (Richman, C.J., concurring in

part and dissenting in part), and Villarreal is not permitted to amend her complaint

through conclusory assertions in her appellate briefing.

    Second, even assuming the knowledge of two non-governmental sources would

mean the information was public, the question at issue in a Fourth Amendment rea-

sonableness inquiry is an objective one: what facts the officers knew or should have
known at the time of her arrest. See Kingsley v. Hendrickson, 576 U.S. 389, 399 (2015).

But Villarreal does not allege that the police knew about the information from the

non-government officials or should have known (for example, by alleging how these
non-government officials had themselves obtained the information). As a result,

there is no “factual content that allows the court to draw the reasonable inference

that the[se] defendant[s]” had reason to know that the information was public. Iqbal,
556 U.S. at 678. As a result, the complaint “stops short of the line between possibility

and plausibility of entitlement to relief.” Id. (quotation marks omitted).

    Nor is it enough to suggest (e.g., at 47) that the information Villarreal published

was obviously information the government regularly releases. The TPIA’s confiden-

tiality rules are deliberately narrow, and often protect specific individuals or specific

time periods depending on the public interest each exception seeks to serve. For ex-

ample, the TPIA “encompasses the constitutional right to privacy,” Tex. Atty Gen.

OR2022-36798, 2022 WL 17552725, at *2 (2022), which is owned—and can be

waived—by specific individuals, Indus. Found. of the S. v. Tex. Indus. Accident Bd.,

540 S.W.2d 668, 681 (Tex. 1976); see also Ramie v. City of Hedwig Village, 765 F.2d

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490, 492 (5th Cir. 1985). In the instance that involves personally identifying infor-
mation of someone who has committed suicide, Texas law recognizes that “mem-

bers of the deceased individuals’ families may have privacy interest[s] in the infor-

mation.” Tex. Att’y Gen. OR2022-36798, 2022 WL 17552725, at *2. Thus, although

such information may eventually become public, it could remain confidential for a

period of time so that governmental bodies could “notify the deceased’s family of

their right to submit comments to the attorney general explaining how release will
affect their privacy interests.” Office of the Attorney General, Public Information Act

Handbook 76 & n.363 (2022), https://tinyurl.com/2j6zajx5 (citing Tex. Gov’t Code

§ 552.304).
    For similar reasons, the Texas Transportation Code allows individuals “directly

concerned in the accident or having a proper interest therein,” including “a news-

paper” (as defined in the Government Code), to receive accident reports “held by
the department or another governmental entity.” Tex. Transp. Code § 550.065(a)-

(b), (c)(4)(K). But the Department is required to redact certain identifying infor-

mation, including the “first, middle, and last name of any person listed in an accident

report,” before the information is released outside of the Department. Id.

§ 550.065(f)(2)(A).

    Moreover, section 552.108 of the TPIA exempts “[i]nformation held by a law

enforcement agency or prosecutor that deals with the detection, investigation, or

prosecution of crime,” if “release of the information would interfere with the detec-

tion, investigation, or prosecution of crime,” or if the investigation “did not result

in conviction or deferred adjudication.” Tex. Gov’t Code § 552.108(a)(1)-(2). It only

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allows—indeed, requires—such reports be made public when they are “com-
pleted.” Id. § 552.022(a)(1) As the dissent recognizes, this process could take time

because a death that appears to be suicide or an accident can later turn out to be foul

play. Villarreal II, 44 F.4th at 387. Villarreal does not allege that at the time she ob-

tained the information from Officer Goodman, that decision had been made. She

certainly does not allege facts from which the Court can infer that Defendants should

have known that decision had been made. Kingsley, 576 U.S. at 399.
    To the contrary, some of the facts that Villarreal alleges prove Defendants’ im-

proper motive instead show the opposite. In particular, she points to the fact that

when the LPD’s spokesperson “directly” informed her about a local suicide and she
posted that information, she was not investigated or arrested. ROA.159, 166. Infor-

mation that has “been made public” (in this instance, by the LPD’s official spokes-

person, Joe Baeza) is expressly excluded from the relevant statute. Tex. Penal Code
§ 39.06(c)(2). That she was arrested only when she obtained information illegally

before it was released by Baeza demonstrates that LPD was not conspiring to violate

her constitutional rights. Contra ROA.154-57. They were trying to faithfully apply

section 39.06(c).

    The panel majority’s second vacated opinion tried to get around this problem in

two primary ways. First, it asserted that any reasonable officer would have known

that section 39.06(c) could not criminalize “the right to politely ask [a public official]

a few questions,” or “punish someone for simply asking for [nonpublic infor-

mation].” Villarreal II, 44 F.4th at 371. But, as discussed above, how Villarreal “re-

ceived” the information was not material to the actus of the crime for which she was

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charged—only that, with the requisite intent, she received facts she should not have
from Officer Goodman, who was not authorized to provide them. See supra Part

II.C.1.a; ROA.166, 170.

    Second, the panel emphasized that she was only using Goodman to corroborate

the information she already had. Villarreal II, 44 F.4th at 372-73. But there is no ex-

ception in section 39.06(c) for “corroborating” confidential information, so Defend-

ants did not act unreasonably in considering her liable, even if they knew Goodman
was simply corroborating information Villarreal somehow had already acquired.

    b. Villarreal has similarly failed to make well-pleaded allegations that she

lacked the relevant mens rea—namely the intent to obtain a benefit, harm or defraud.
Tex. Penal Code § 1.07(a)(7); id. § 39.06(c). The panel majority held that “no rea-

sonable officer could have found probable cause under § 39.06(c)” because Villarreal

did not intend to obtain a benefit. Villarreal II, 44 F.4th at 367. The panel found sig-
nificant Villarreal’s allegations in her complaint that she “does not generate regular

revenue or other economic gain from her citizen journalism.” Id. at 373.

    That is a misstatement of Texas law. Section 39.06(c) does not require that Vil-

larreal’s income be “regular,” only a “benefit.” Texas Penal Code section 1.07(a)(7)

defines “[b]enefit” as “anything reasonably regarded as economic gain or ad-

vantage, including benefit to any other person in whose welfare the beneficiary is

interested.” In this way, it is not dissimilar from federal law, which recognizes that

an individual “receives a direct or indirect benefit” even if he receives “no monetary

or personal benefit” but instead, for example, obtains “a reputational benefit that

will translate into future earnings” or pecuniary gain. Salman v. United States, 137 S.

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Ct. 420, 427 (2016). Even a familial gift can be a gain because the defendant does not
have to expend funds he might otherwise have.

    Villarreal admits in the operative complaint that though she “does not generate

regular revenue or other regular economic gain,” she obtains other benefits of value.

ROA.159. For example, “[s]he sometimes enjoys a free meal from appreciative read-

ers, and occasionally receives fees for promoting a local business”; she also has

“ask[ed] for”—and presumably received—“donations for new equipment.”
ROA.159. These facts prove that Villarreal uses her Facebook page not only as a

means of communicating the news, but also to benefit economically from her report-

ing. The “bare assertions” Villarreal made in her operative complaint that she “does
not generate . . . economic gain from her citizen journalism” are “not entitled to be

assumed true” given the other facts in the complaint the court must accept that il-

lustrate how she generates economic gain from her citizen journalism. Iqbal, 550 U.S.
at 681.

    The panel majority concluded that “Villarreal maintains that she acted not to

obtain economic gain, but to be a good journalist.” Villarreal II, 44 F.4th at 372. Vil-

larreal’s interest in gaining corroborating information “only slowed [her] down—

the very opposite of the benefit alleged by the officers.” Id. at 373. Moreover, accord-

ing to the panel, her behavior was not that of a “purely economically motivated ac-

tor.” Id. But being “a good journalist” and obtaining a “benefit” are not mutually

exclusive. In fact, many times across many professions, “a reputational benefit” to-

day “will translate” into other benefits tomorrow. Salman, 137 S. Ct. at 427. In ad-

dition, if Villarreal’s information was unreliable, she would lose the popularity of her

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news site and the benefits that accompany it—free meals, “donations” for new
equipment, and profits for advertising local businesses. ROA.159.

    The panel majority also ignored the fact that, by using an inside source, Villarreal

was able to move more quickly than other reporters who were waiting for information

from the Police Department’s spokesperson, Joe Baeza. ROA.159. Villarreal does

not dispute that she knew about Baeza, but based on what she reported, LPD knew

she did not go to him for information about the suicide or the traffic accident.
ROA.166.11 As the dissent noted, this is evidence both that Villarreal knew the infor-

mation was not public and that she received a benefit by “scooping” her competi-

tion. Villarreal II, 44 F.4th at 389. (Richman, C.J., concurring in part and dissenting
in part).

    But even if Villarreal was interested only in being a good journalist and did not

expect any benefit to flow from that, Defendants could not read her mind. As a result,
they were entitled to look at the totality of the circumstances and “formulate[] cer-

tain common sense conclusions about human behavior,” United States v. Cortez, 449

U.S. 411, 418 (1981), including that a journalist may believe that ensuring her report-

ing was accurate would increase her popularity and influence, which would result in

more financial benefits from her readers. See, e.g., Wesby, 138 S. Ct. at 587 (finding

that, “[t]aken together, the condition of the house and the conduct of the partygoers




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      A reasonable law enforcement officer would likely also have seen this as further
indicia that the information Villarreal published was nonpublic. See supra Part
II.C.1.a.

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allowed [law enforcement] officers to make several common-sense conclusions
about human behavior” in concluding that partygoers were trespassing).

    Finally, in concluding that Defendants’ conduct was unreasonable, Villarreal (at

8-9), the revised majority opinion (Villarreal II, 44 F.4th at 371-72), and the concur-

rence (id. at 382) each emphasize Defendants’ allegedly retaliatory, petty, and un-

professional conduct. If true, the State in no way condones such behavior. But at

most such behavior goes to subjective intent, which is not relevant to the qualified-
immunity analysis.

        2. The panel erred in discarding the independent-intermediary
           doctrine.
    Moreover, even if aspects of intent survived the objective standard for qualified

immunity, “[i]t is well settled that if facts supporting an arrest are placed before an
independent intermediary such as a magistrate or grand jury, the intermediary’s de-

cision breaks the chain of causation for false arrest, insulating the initiating party.”

Wilson v. Stroman, 33 F.4th 202, 208 (5th Cir.), cert. denied sub nom. Reyna v. Wilson,

143 S. Ct. 425 (2022). Because judges (state and federal) are presumed to act in good

faith and in conformity with the Constitution, “the fact that a neutral magistrate has

issued a warrant is the clearest indication that the officers acted in an objectively

reasonable manner or, as we have sometimes put it, in ‘objective good faith.’” Mes-

serschmidt v. Millender, 565 U.S. 535, 546 (2012). As a result, even if the arrestee was

never convicted of a crime, a “properly secured arrest warrant . . . will shield a de-
fendant who has committed or initiated a false arrest.” Wilson, 33 F.4th at 208.




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    a. Under existing precedent, the independent-intermediary doctrine should
have applied here. In Messerschmidt, the Supreme Court noted that “the fact that the

officers sought and obtained approval of the warrant application from a superior and

a deputy district attorney before submitting it to the Magistrate provides further sup-

port for the conclusion that an officer could reasonably have believed that the scope

of the warrant was supported by probable cause.” 565 U.S. at 553. That is precisely

what happened: Villarreal alleges that Ruiz, an investigator for the LPD, ROA.156,
provided statements in support of the criminal complaints and two affidavits in sup-

port of arrest warrants “under the supervision and direction of Defendants Treviño,

Alaniz, and Jacaman.” ROA.170. Treviño is chief of police for the LPD, Alaniz is the
Webb County District Attorney, and Jacaman is his Chief Assistant. ROA.155. Alt-

hough Villarreal alleges that Alaniz and Jacaman are hostile toward her as a result of

past journalistic activity, ROA.176, she does not allege that Treviño or Ruiz had any
such personal animus.

    If anything, the case for ignoring the independent-intermediary doctrine is par-

ticularly weak. The incident that allegedly drew hostility from Jacaman and Alaniz

occurred in 2015. ROA.161-62; cf. ROA.163, 315. And she does not allege that Jaca-

man, Alaniz, or any LPD officer involved in the investigation of her conduct did an-

ything to harm her in the two years prior to the investigation and arrest, cf.

ROA.176—notwithstanding that she alleges misconduct by other officers at LPD,

ROA.170. Assuming that Jacaman and Alaniz retained enough animosity after two

years to risk their reputations—and potentially their law licenses—to sign off on an

“obviously unconstitutional” warrant application, Villarreal has not alleged that

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Ruiz and Treviño had a similar incentive. Nor does she allege facts from which the
Court can infer that they had “any apparent misgivings” when signing off on the

warrant, before Jacaman and Alaniz sought “the approval of a neutral Magistrate,

who issued the requested warrant.” Messerschmidt, 556 U.S. at 554. Instead, the facts

as alleged by Villarreal show that “[t]he officers thus ‘took every step that could rea-

sonably be expected of them,’” triggering the independent-intermediary exception.

Id. (quoting Massachusetts v. Sheppard, 468 U.S. 981, 989 (1984)).
    b. Absent allegations against the magistrate himself (which do not exist here),

the State is aware of only two exceptions to the independent-intermediary doctrine

that are clearly established for qualified-immunity purposes. First, under Malley v.
Briggs, an officer can be held liable for a search authorized by a warrant when the

application presented to the magistrate was “so lacking in indicia of probable cause

as to render official belief in its existence unreasonable.” 475 U.S. 335, 344-45
(1986). The Malley exception concerns “the obvious failure of accurately presented

evidence to support the probable cause required for the issuance of a warrant.” Mel-

ton v. Phillips, 875 F.3d 256, 264 (5th Cir. 2017) (en banc). That is, the warrant must

be “based on an affidavit so lacking in indicia of probable cause as to render official

belief in its existence entirely unreasonable.” Messerschmidt, 565 U.S. at 547 (quoting

United States v. Leon, 468 U.S. 897, 923 (1984)). “[T]he threshold for establishing

this exception is a high one, as it should be.” Id. Villarreal cannot meet that burden

because, for the reasons already discussed (at Part II.C.1), there was ample cause to

think she had violated a facially valid statute.



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    Second, under Franks v. Delaware, 438 U.S. 154, 171-72 (1978), the independent-
intermediary doctrine excludes only affidavits sworn by officers when there are alle-

gations (and an offer of proof) of “deliberate falsehood[s] or [] reckless disregard for

the truth” that negate a finding of probable cause. Villarreal fails to plausibly plead

that the Franks exception applies either. Her complaint asserts that Defendants

“manufacture[d] criminal complaints, a search warrant affidavit and approval, and

arrest warrant affidavits and approvals with the intent that Villarreal be arrested and
detained in order to coerce her into easing her citizen journalism efforts.” ROA.169-

70. But Villarreal never alleges that specific facts were misstated in the affidavit or

omitted, relying instead on her theory that Defendants executed the warrant with
the subjective motive to retaliate against Villarreal “for the exercise of her First

Amendment rights.” ROA.173. But this theory alone cannot overcome the inde-

pendent-intermediary doctrine, or the exception would swallow the rule. See Franks,
438 U.S. at 171 (“the challenger’s attack must be more than conclusory”).

    At most, Villarreal asserts that the statements given by Ruiz in support of the

affidavit were false, because he “knew or should have known that the information

Villarreal published was not subject to a TPIA exception and was generally accessible

to the public.” ROA.171. But, as discussed above, that statement is conclusory and

unsupported by the facts alleged: that only one person who was at the scene or re-

lated to the victims knew the information. Supra Part II.C.1.a. Similarly faulty is the

allegation that Ruiz “knew or should have known” that “at all times leading up to

Villarreal’s arrest, Villarreal did not use her Facebook page as a means of economic

gain.” ROA.171. She does not explain why that would be. After all, a prominent

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periodical declared the year these events took place to also be “the year of the influ-
encer,” citing the growth in the understanding that “attention”—here, Villarreal’s

large Facebook following—“is a valuable resource and a growing commodity in the

modern market.” Kelly Ehlers, 2017: The Year of the Influencer, Forbes (Feb. 23,

2017), https://tinyurl.com/27ackuxy. If anything, Villarreal’s disclaiming of eco-

nomic gain is contradicted by her own allegations that she—like other influencers—

was paid by companies for advertising for them on her site and that she requested
money from readers for equipment she needed as a journalist. ROA.159. Thus, it is

unsurprising that the panel majority never concluded that any of the Defendants (let

alone all of them) misstated the facts or somehow tainted the magistrate’s view of
the facts.

    b. Instead, Villarreal seems to ask the Court to recognize a third exception to

the independent-intermediary doctrine based on some combination of a policy disa-
greement with receipt-based statutes and her theory of discriminatory prosecution.

Specifically, she asserts that (1) “there was no basis for criminally investigating, ar-

resting, and prosecuting a citizen for simply asking for or receiving publicly-accessi-

ble information,” ROA.173-74; and (2) “Defendants also knew that members of the

local media regularly asked for and received information from LPD officials relating

to crime scenes and investigations, traffic accidents, and other LPD matters.”

ROA.174; see also ROA.174 (Defendants knew they could not apply the statute to

“those who publish information on matters of public concern to gain more read-

ers”). In perhaps an example of the old adage that bad facts make bad law, the panel

majority agreed that the independent-intermediary doctrine does not apply because

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“a reasonably well-trained officer would have understood that arresting a journalist
for merely asking a question clearly violates the First Amendment.” Villarreal II, 44

F.4th at 375. The legal grounds behind this statement are entirely unclear.

    To the extent that the panel majority tied its analysis to existing, clearly estab-

lished law, it appears to have seen its rule as a gloss on Malley, 475 U.S. at 345, be-

cause it was “obvious that no reasonably competent officer would have concluded

that a warrant should issue.” Villarreal II, 44 F.4th at 375. But, as explained above,
it is not obvious under existing Supreme Court caselaw that criminal solicitation is

protected by the First Amendment when a journalist knowingly seeks to influence a

public servant to break the law. See supra Part I.A. Thus, no clearly established law
would have provided a reasonable officer notice that he should not have submitted a

warrant request concerning Villarreal’s conduct. See Malley, 475 U.S. at 345.

    And to the extent that the panel majority was recognizing a new exception to the
independent-intermediary doctrine, it could not be applied to deprive Defendants of

qualified immunity here. After all, this Court has repeatedly recognized that quali-

fied immunity must be measured as of the time of the challenged act. E.g., Powers,

951 F.3d at 306 (collecting cases). An exception to the independent-intermediary ex-

ception recognized today could not have been well-established when Villarreal was

arrested in 2017.

    c. Any new exception to the independent-intermediary doctrine along the lines

the panel majority suggests should also be dismissed on the merits because it renders

it a toothless doctrine aimed solely at intent and is irreconcilable with current Su-

preme Court precedent. For example, in Ashcroft v. al-Kidd, al-Kidd accused then-

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Attorney General John Ashcroft of authorizing the use of the material-witness stat-
ute in the wake of 9-11 to detain suspected terrorists he had no intention of using as

witnesses. 563 U.S. at 734. The Ninth Circuit held that Ashcroft was not entitled to

qualified immunity because “the Fourth Amendment prohibits pretextual arrests ab-

sent probable cause of criminal wrongdoing.” Id. The Supreme Court reversed, ex-

plaining that “[a] warrant issued by a neutral Magistrate Judge authorized al-Kidd’s

arrest,” and the affidavit accompanying the warrant “gave individualized reasons to
believe that [al-Kidd] was a material witness and that he would soon disappear.” Id.

at 738. The Court held that “[a] warrant based on individualized suspicion in fact

grants more protection against the malevolent and the incompetent than existed in
most of our cases eschewing inquiries into intent.” Id. (footnote omitted).

    If pretext did not vitiate the warrant in al-Kidd, neither does alleged retaliatory

animus. After all, the entire point of the doctrine is that an officer should not be ex-
pected to question the magistrate’s probable-cause determination because it is the

magistrate’s responsibility to determine whether probable cause exists—and thus to

issue a warrant that comports with the requirements of the Fourth Amendment. Mes-

serschmidt, 565 U.S. at 547. To serve any purpose, “‘it goes without saying that

where a magistrate acts mistakenly in issuing a warrant but within the range of pro-

fessional competence of a magistrate, the officer who requested the warrant cannot

be held liable.’” Id. at 547-48 (quoting Malley, 475 U.S. at 346 n.9). At worst, that is

what happened here. Therefore, there was no clearly established constitutional vio-

lation for which the officers named as defendants may be held personally liable for

monetary damages.

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                                 Conclusion
    The Court should affirm the district court’s judgment dismissing Villarreal’s

claims.

                                     Respectfully submitted.

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